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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    ) Civil Action No. 25-400 (AA)
                  Plaintiffs,       )
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )



      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
              TEMPORARY RESTRAINING ORDER




                                  Lauren E. Bateman (D.C. Bar No. 1047285)
                                  Allison M. Zieve (D.C. Bar No. 424786)
                                  Nicolas A. Sansone (D.C. Bar No. 1686810)
                                  Public Citizen Litigation Group
                                  1600 20th Street NW
                                  Washington, DC 20009
                                  (202) 588-1000

                                  Counsel for Plaintiffs
February 12, 2025
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                                   INTRODUCTION

       As the world’s economic superpower, the United States has long devoted

resources to building international goodwill and promoting global wellbeing by

partnering with aid organizations throughout the world to support projects that

combat deadly diseases, amplify the voices of embattled local journalists, and feed

communities at risk of starvation. Year after year, Congress has recognized the value

of these efforts and has directed billions of dollars to fund aid projects that save lives,

promote democracy, and shore up America’s national security and status as a global

leader. Up to now, the executive branch has faithfully followed the law by directing

congressionally appropriated funds for international aid programs to grantees doing

that vital work.

       Three weeks ago, with no warning and no justification, Defendants abruptly

cut off funding to innumerable foreign aid programs on which communities

throughout the world rely for their health and safety, and Defendants ordered the

foreign assistance grantees to stop their important work. These destructive and

misguided actions were not just unwise but unlawful. The separation-of-powers

principles that undergird our constitutional plan require the executive to implement

and abide by federal statutes, including appropriations acts, the Impoundment

Control Act, and the Antideficiency Act. Moreover, principles of sound decision-

making require executive agencies to base their actions on evidence and reasoned

analysis—both of which are lacking here.




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      Defendants’ actions in freezing foreign aid funding and ordering the immediate

cessation of hundreds of critical projects throughout the world are unlawful and must

be enjoined. But time is of the essence. Every day that international aid organizations

such as Plaintiffs go without the federal funding that Congress has guaranteed them,

the less likely they are to survive, and the more suffering will be heaped on the

communities that depend on their work. Indeed, Defendants’ unlawful actions are

already causing irreparable harm. Many organizations, including Plaintiffs, have had

to shed staff, slash budgets, and reduce or eliminate the services that they offer to

the world’s most vulnerable populations. If this Court does not act to restore order, it

will be a matter of weeks, if not days, before Plaintiffs may have to join the other

organizations that have been forced to shutter their projects entirely.

      To restore the constitutional balance and avert irreparable harm, this Court

should act immediately to enter a temporary restraining order barring Defendants

from enforcing their unlawful funding freeze and stop-work orders, and requiring

Defendants to resume funding for foreign assistance programs, including Plaintiffs’.

In addition, because grantees must be assured of their legal rights and their

protection against unlawful executive action before they can make sensible decisions

about staffing, priorities, and resource allocation going forward, this Court should

enter an expedited schedule for cross-motions for summary judgment.

                             STATEMENT OF FACTS

      Plaintiffs AIDS Vaccine Advocacy Coalition (AVAC) and Journalism

Development Network, Inc. (JDN) are nonprofit organizations that receive federal



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grant money to perform critical foreign assistance work that fosters international

goodwill, promotes global health and safety, and advances public knowledge.

      AVAC, which works to hasten the end of the global HIV/AIDS epidemic, has

received congressionally authorized federal funding for nearly a decade for its global

HIV prevention work pursuant to a Cooperative Agreement that it entered into with

Defendant USAID in 2016 and renewed in 2021. Warren Decl. ¶¶ 3, 9. The

agreement, which is currently set to expire on June 19, 2026, guarantees AVAC

federal grant funding that it uses to support a coalition called “CASPR” that operates

in African countries with the highest burden of new HIV infections and that focuses

on accelerating biomedical HIV prevention research and translating that research

into accessible resources for policymakers, clinical trial participants, and other

community members. Id. ¶¶ 2–4, 8–9.

      JDN, which supports investigative news outlets throughout the world, has

received a range of congressionally authorized State Department and USAID grants.

Sullivan Decl. ¶¶ 6–11. JDN uses grant money to support journalists in places

ranging from the Pacific Islands to Paraguay by providing them with reporting

partners, investigative technology and data, robust editing and fact-checking, digital

and physical security support, and protection against harassment. Id. ¶¶ 4, 11.

Federal grant money supports JDN’s participation in the Global Anti-Corruption

Consortium, which unites journalists, advocates, and anti-corruption stakeholders

from around the world to tackle transnational corruption and facilitate anti-

corruption action by government, law enforcement, and international organizations.



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Id. ¶ 9. And federal grant money is also a vital source of funding for JDN’s

Strengthening Transparency and Accountability Through Investigative Reporting

program, which supports collaborative investigative journalism networks in Europe

and Eurasia. Id. ¶ 7.

      Defendants’ funding freeze has placed Plaintiffs’ ability to continue advancing

their critical missions under serious threat. On January 20, 2025, President Trump

signed an Executive Order titled “Reevaluating and Realigning United States

Foreign Aid,” Exec. Order. No. 14169, 90 Fed. Reg. 8619 (Jan. 20, 2025). The

Executive Order effects a “90-day pause in United States foreign development

assistance” and directs Defendant Office of Management and Budget (OMB) to

enforce the pause “through its apportionment authority.” 90 Fed. Reg. at 8619.

Within 90 days of the order, “[t]he responsible department and agency heads, in

consultation with the Director of OMB,” are to determine “whether to continue,

modify, or cease each foreign assistance program” based on a review of the program’s

“efficiency and consistency with United States foreign policy.” Id. In the meantime,

“new obligations and disbursements of development assistance funds to foreign

countries   and   implementing     non-governmental      organizations,   international

organizations, and contractors,” including Plaintiffs, are to be entirely frozen. Id.

      Four days after the President issued the Executive Order, Defendants U.S.

Department of State and Secretary of State Marco Rubio sent a memorandum to all

U.S. diplomatic and consular posts purporting to implement the Executive Order by

“paus[ing] all new obligations of funding, pending a review, for foreign assistance



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programs funded by or through the [State] Department and USAID.” Memorandum,

25 State 6828 (Jan. 24, 2025) (hereafter, State Department Memo), https://

tinyurl.com/4u48dduk. As for “existing foreign assistance awards,” the memorandum

states that “contracting officers and grant officers shall immediately issue stop-work

orders,” which will be lifted only at a time that “Secretary [Rubio] shall determine,

following a review.” Id.

      The same day that the State Department Memo issued, JDN received the first

of several stop-work orders. JDN was informed, among other things, that its foreign

assistance awards were “immediately suspended” and that although its projects

supposedly “no longer effectuate[d] agency priorities,” the suspension of funds was

“not due to any actions” of JDN but was instead meant to “give the new

administration time to review the use of Foreign Assistance Funds.” Sullivan Decl.

Exh. A. On January 27, AVAC received a stop-work order directing it to “immediately

suspend work” and to “cease implementation immediately” of the programs funded

by its Cooperating Agreement with USAID. Warren Decl. Exh. A. Hundreds of aid

organizations that receive federal foreign assistance grants, including Plaintiffs, have

since attempted to draw down State Department and USAID grant funding but

remain unable to access their funds. The funding freeze and stop-work orders that

prevent Plaintiffs from carrying out their missions remain in effect to this day. 1


1 On January 27, 2025, the OMB’s Acting Director issued a memorandum directing

executive department and agency heads to “pause all activities related to obligation
or disbursement of all Federal financial assistance, … including, but not limited to,
financial assistance for foreign aid.” Memorandum, OMB No. M-25-13 at 2 (Jan. 27,
2025), https://tinyurl.com/4f3u4p2p. The OMB memo has since been rescinded,


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      The effects of Defendants’ funding freeze and stop-work orders have been

immediate and severe. Non-governmental organizations across the world have begun

“shutting doors, sending staff home and turning away their dependents.” Laura Kelly

& Nathaniel Weixel, Chaos and Uncertainty Swirl Around Trump’s Foreign Aid

Freeze, The Hill (Jan. 30, 2025), https://tinyurl.com/4w7b7ha3. Programs that have

shut down include humanitarian operations at refugee camps in Syria, Tom

Bateman, How a US Freeze Upended Global Aid in a Matter of Days, BBC (Jan. 29,

2025), https://tinyurl.com/24ubaf8r; soup kitchens that feed nearly a million people

in famine-stricken Khartoum, Sui-Lee Wee et al., How the World Is Reeling from

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counterterrorism programs to gather intelligence on Al Qaeda in the Ivory Coast, id.;

and programs that deliver rehydration salts to toddlers in Zambia who are suffering

life-threatening diarrhea, Stephanie Nolen, Health Programs Shutter Around the

World After Trump Pauses Foreign Aid, N.Y. Times (Feb. 1, 2025), https://



Memorandum, OMB No. M-25-14 (Jan. 29, 2025), https://tinyurl.com/fhaumb22, and
OMB has been enjoined from “implementing [it], giving effect to [it], or reinstating
under a different name the directives in [it],” Nat’l Council of Nonprofits v. OMB, —
F. Supp. 3d —, 2025 WL 368852, at *14 (D.D.C. Feb. 3, 2025); see New York v. Trump,
— F. Supp. 3d —, 2025 WL 357368, at *5 (D.R.I. Jan. 31, 2025), appeal pending No.
25-1138 (1st Cir. Feb. 10, 2025) (issuing a temporary restraining order and requiring
that any “‘review’ of federal financial assistance programs, as identified in the OMB
[memo], … shall not [e]ffect a pause, freeze, impediment, block, cancellation, or
termination of … such awards and obligations”). Whatever the status of the OMB
memo, White House Press Secretary Karoline Leavitt has announced that President
Trump’s Executive Orders on federal funding “remain in full force and effect, and will
be rigorously implemented,” @PressSec, X (Jan. 29, 2025, 1:40 PM), https://
tinyurl.com/5n7p2ur3, and Plaintiffs cannot access federal grant money and remain
subject to stop-work orders issued pursuant to the State Department Memo.

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tinyurl.com/3ry4mzfc. Other programs—such as grant-funded medical facilities in

Sudan that give life-saving care to severely malnourished children—have managed

to continue operations temporarily but will imminently deplete their remaining

funds. See Brett Murphy & Anna Maria Barry-Jester, “People Will Die”: The Trump

Administration Said It Lifted Its Ban on Lifesaving Humanitarian Aid. That’s Not

True, ProPublica (Jan. 31, 2025), https://tinyurl.com/bdzjdtvn.

      The cost to human health has already been profound. For example, over

222,333 people—including 7,445 children under the age of 15—daily pick up life-

saving antiretroviral treatments from organizations that receive grant funding that

has been frozen or threatened. Andelson Off. of Pub. Pol’y, Impact of Stop Work

Orders for PEPFAR Programs (Jan. 20, 2025), https://tinyurl.com/mr8krwp8. As a

result of Defendants’ actions, one USAID worker estimates that “[a]t a minimum, 300

babies that wouldn’t have had HIV, now do.” Kate Knibbs, Elon Musk’s DOGE Is Still

Blocking HIV/AIDS Relief Exempted from Foreign Aid Cuts, Wired (Feb. 3, 2025),

https://tinyurl.com/4dfb6b7s.

      For Plaintiffs, too, the consequences have been disastrous. The funding that

AVAC receives through its Cooperative Agreement constitutes 40 percent of its total

operating budget, and the ongoing funding freeze has severely compromised AVAC’s

ability to continue supporting CASPR’s work on researching HIV prevention,

including by conducting clinical trials, and offering resources to local African

communities. Warren Decl. ¶¶ 10–13. Indeed, as a result of the funding freeze and

stop-work order, AVAC has had to halt all CASPR work and lay off seven of its 46-



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person staff. Id. ¶¶ 11–12. If the funding freeze and stop-work order remain in effect,

AVAC will need to make further layoffs imminently. Id. ¶ 12.

      As for JDN, it has had to slash its budget, curtail its operations, lay off nearly

a quarter of its staff, and reduce salaries and working hours for the majority of its

remaining employees. Sullivan Decl. ¶¶ 10–12. If JDN is not allowed to access its

funding and resume its work, it will imminently be forced to close programs, severely

compromising the investigative journalism and anti-corruption efforts that it

supports. Id. ¶¶ 8, 10–13.

      Although Defendants’ actions caused immediate, serious harm, Plaintiffs did

not immediately seek emergency relief due to the many uncertainties surrounding

the legal status of the freeze: Secretary Rubio had suggested that waivers might be

available, see U.S. Dep’t of State, Emergency Humanitarian Waiver to Foreign

Assistance Pause (Jan. 28, 2025), https://tinyurl.com/5n7u8tmf; the scope of court

orders barring enforcement of an OMB memo purporting to implement the Executive

Order was in question, see supra note 1; and, as recently as Friday, February 7,

government attorneys made representations in court—since corrected—that

Secretary Rubio’s freeze on funding applied only to “new obligations” rather than

previously obligated grants. Compare Hr’g Trans., Am. Fed. of Gov’t Emps. v. Trump,

No. 25-cv-352 (D.D.C) (Feb. 7, 2025), at 45, with Notice of Corr., Am. Fed. of Gov’t

Emps, ECF No. 21 (filed Feb. 10, 2025) (noting that counsel had been “unaware” that

“payments on existing contracts were paused”). Now, though, it is clear that

Defendants will not lift this devastating freeze unless ordered to do so. Due to the



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severe and worsening harms that Plaintiffs have experienced and will continue to

experience as a result of the funding freeze and stop-work orders, Plaintiffs ask this

Court to grant a temporary restraining order enjoining Defendants from enforcing

the Executive Order, the State Department Memo, and the stop-work orders and

requiring Defendants to reinstate congressionally authorized foreign aid grants.

                            STANDARD OF REVIEW

      To secure a temporary restraining order, “the moving party must show (1) a

substantial likelihood of success on the merits, (2) that it would suffer irreparable

injury if [an] injunction were not granted, (3) that an injunction would not

substantially injure other interested parties, and (4) that the public interest would

be furthered by the injunction.” Chaplaincy of Full Gospel Churches v. England, 454

F.3d 290, 297 (D.C. Cir. 2006); see Hall v. Johnson, 599 F. Supp. 2d 1, 3 n.2 (D.D.C.

2009) (“The same standard applies to both temporary restraining orders and to

preliminary injunctions.”). Where, as here, the requested temporary relief would run

against the government, “the final two … factors—balancing the equities and the

public interest—merge.” D.A.M. v. Barr, 474 F. Supp. 3d 45, 67 (D.D.C. 2020) (citing

Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016)).

                                   ARGUMENT

I.    Plaintiffs are likely to succeed on the merits.

      Defendants’ actions in freezing Plaintiffs’ grant funding and ordering them to

cease operations are unlawful for multiple independent reasons, and Plaintiffs have

accordingly advanced several claims to relief. Although Plaintiffs “need only show



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likelihood of success on one claim,” Kirwa v. U.S. Dep’t of Def., 285 F. Supp. 3d 21, 35

(D.D.C. 2017) (quoting McNeil-PPC, Inc. v. Granutec, Inc., 919 F. Supp. 198, 201

(E.D.N.C. 1995)), Plaintiffs can establish a likelihood of success as to all of them.

      A. The Executive Order is unconstitutional.

      The same day that he took office, President Trump issued an Executive Order

mandating the cessation of congressionally sanctioned funding flows and halting

foreign assistance projects that the legislative branch has chosen to authorize as a

matter of national policy. This order overstepped constitutional limits on executive

power for two distinct but related reasons: It transgressed the separation of powers

that is central to American government, and it flouted the constitutional requirement

that the executive must take care to effectuate legislative policy.

          1.   The Order violates the separation of powers.

      The Framers of the U.S. Constitution “divide[d] the delegated powers of the

new federal government into three defined categories, legislative, executive and

judicial, to assure, as nearly as possible, that each Branch of government would

confine itself to its assigned responsibility.” INS v. Chadha, 462 U.S. 919, 951 (1983).

This fundamental choice arose from the recognition that “checks and balances [are]

the foundation of a structure of government that [will] protect liberty.” Bowsher v.

Synar, 478 U.S. 714, 722 (1986). As relevant here, by “[r]estricting the task of

legislating to one branch characterized by difficult and deliberative processes,” the

Constitution “promote[s] fair notice and the rule of law, ensuring the people [will] be




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subject to a relatively stable and predictable set of rules.” Gundy v. United States,

588 U.S. 128, 155 (2019) (Gorsuch, J., dissenting).

       Rather than respecting Congress’s exclusive “power to make a law,” Wilkerson

v. Rahrer, 140 U.S. 545, 562 (1891), the Executive Order disregards Congress’s

legislative authority entirely. In the Further Consolidated Appropriations Act of 2024

(FCAA), Pub. L. No. 118-47, 138 Stat. 460 (2024), Congress allocated federal funds to

the sort of foreign assistance work that Plaintiffs perform. Specifically, with respect

to AVAC’s work, the FCAA provides that nearly $4 billion “shall be made available”

for “programs for the prevention, treatment, control of, and research on HIV/AIDS,

… and for assistance to communities severely affected by HIV/AIDS.” Id. div. F, tit.

III, 138 Stat. at 740. And with respect to JDN’s work, the Act allocates $2.9 billion in

funds for “democracy programs,” including “programs that support good governance,

credible and competitive elections, freedom of expression, association, assembly, and

religion, human rights, labor rights, independent media, and the rule of law, and that

otherwise strengthen the capacity of democratic political parties, governments,

nongovernmental organizations and institutions, and citizens to support the

development of democratic states and institutions that are responsive and

accountable to citizens.” Id. div. F, tit. VII, 138 Stat. at 786; see id., 138 Stat. at 787

(directing that federal funds “shall be made available to support and protect civil

society activists and journalists who have been threatened, harassed, or attacked”

and “shall be made available for programs to protect international freedom of

expression and independent media, including through multilateral initiatives”).



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      The Executive Order unlawfully vitiates these legislative choices. The order

starves grantees carrying out programs for which Congress appropriated funding.

Indeed, the order decries Congress’s decision to support “[t]he United States foreign

aid industry” as “directly inverse to harmonious and stable relations internal to and

among countries” and “not fully aligned with the foreign policy of the President.” 90

Fed. Reg. at 8619. Critically, the order does not reflect an exercise of appropriate

executive “discretion” to “interpret[] a statute and direct[] the details of its

execution,” J.W. Hampton, Jr. & Co. v. United States, 276 U.S. 394, 406 (1928), or to

flexibly implement Congress’s “broad general directives,” Mistretta v. United States,

488 U.S. 361, 372 (1989). Rather, it reflects executive rejection of the policy goals that

Congress has embraced. The Executive Order, in other words, does not announce

principles for deciding which assistance projects to support to best give effect to

Congress’s judgment. It       announces instead that the executive—in direct

contravention of Congress’s will—has decided to fund no such projects at all.

      The supposedly temporary nature of the funding freeze does not cure the

constitutional deficiency. Even setting aside that Congress has not authorized a

pause in the disbursement of the funds that it has allocated to foreign assistance

programs, the executive branch has been transparent that its goal is to “prevent[]”

foreign assistance spending. See U.S. Dep’t of State, Prioritizing America’s National

Interests One Dollar at a Time (Jan. 29, 2025), https://tinyurl.com/mw7n9zjn; see

@elonmusk, X (Feb. 2, 2025, 12:20 PM), https://tinyurl.com/4bnu7b7z (statement

from presidential advisor Elon Musk that “USAID is a criminal organization” and



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that it is “[t]ime for [USAID] to die”). The results speak for themselves. As explained

supra at pp. 6–8, the funding freeze has already caused countless aid organizations

to scale back operations, if not shut down entirely. Plaintiffs’ situation is a case in

point. Less than one-third of the way into the 90-day “pause” in congressionally

authorized funding unilaterally announced by the executive branch, AVAC and JDN

face existential threats to the ongoing viability of their operations. See infra Part II.

For many organizations, the Executive Order—if allowed to take full effect—does not

represent a temporary setback, but a death knell. And as the statements of officials

speaking for the executive branch lay bare, that result is intended and desired.

      Plaintiffs are thus likely to prevail on their claim that the Executive Order

violates the separation of powers and that they are therefore entitled to permanent

injunctive relief. See Correctional Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001)

(“[I]njunctive relief has long been recognized as the proper means for preventing

entities from acting unconstitutionally.”); Free Enter. Fund v. Pub. Co. Accounting

Oversight Bd., 561 U.S. 477, 491 n.2 (2010) (recognizing an implied right of action

under the Constitution to seek injunctive relief for a separation-of-powers violation).

          2.    The Order violates the Take Care Clause.

      Under Article II of the U.S. Constitution, the President has a “constitutionally

appointed duty to ‘take care that the laws be faithfully executed.’” Morrison v. Olson,

487 U.S. 654, 690 (1988) (quoting U.S. Const. art. II, § 3). This duty “refutes the idea

that [the President] is to be a lawmaker” and makes clear that “Congress has …

exclusive constitutional authority to make laws necessary and proper to carry out the



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powers vested by the Constitution” in the federal government. Youngstown Sheet &

Tube Co. v. Sawyer, 343 U.S. 579, 587–88 (1952). And “[t]o contend that the obligation

imposed on the President to see the laws faithfully executed, implies a power to forbid

their execution, is a novel construction of the constitution, and entirely inadmissible.”

Kendall v. U.S. ex rel. Stokes, 37 U.S. (12 Pet.) 524, 613 (1838). Holding otherwise

“would be clothing the President with a power entirely to control the legislation of

congress.” Id.

      Thus, for the same reasons that the Executive Order violates the separation of

powers, it also violates the Take Care Clause. See Ctr. for Biological Diversity v.

McAleenan, 404 F. Supp. 3d 218, 244 (D.D.C. 2019) (recognizing that “separation-of-

powers principles also drive evaluations of claims brought under the Constitution’s

Take Care Clause”). The order, after all, “does not direct that a congressional policy

be executed in a manner prescribed by Congress—it directs that a presidential policy

be executed in a manner prescribed by the President.” Youngstown, 343 U.S. at 588.2

      Whether the Executive Order is viewed as an encroachment on Congress’s

exclusive authority to legislate or as a dereliction of the executive’s duty to faithfully

take care that congressional will be followed, the upshot is the same: the order

disrupts the careful balance that the Constitution strikes between the various

branches of government and so is unlawful and unenforceable.


2 Cf. United States v.   Texas, 577 U.S. 1101 (2016) (order granting certiorari and
asking parties to brief the question “Whether [a challenged executive action] violates
the Take Care Clause of the Constitution, Art. II, § 3”); Ariz. Dream Act Coalition v.
Brewer, 855 F.3d 957, 976 (9th Cir. 2017) (entertaining claim alleging violation of
Take Care Clause but finding no violation).

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      B. The State Department Memo has no basis in law, is arbitrary
         and capricious, and violates federal statutes.

      The Administrative Procedure Act (APA) provides that a “reviewing court shall

… hold unlawful and set aside agency action” that is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). The State

Department Memo, which suspended all new disbursements of congressionally

appropriated funds and required the issuance of stop-work orders to all but a handful

of existing grantees, is arbitrary and capricious, and not in accordance with law for

several reasons.

      To begin with, the State Department Memo purports to implement the

Executive Order, which is itself “not in accordance with” the U.S. Constitution. Id.;

see supra Part I.A. Because the Executive Order is unlawful and unenforceable, the

agency actions that effectuate it are similarly unlawful.

      Beyond that, the Memo is arbitrary and capricious. The State Department’s

stated rationale for imposing a blanket freeze on virtually all foreign assistance

funding and operations is that it wants to review “whether the foreign assistance

policies and interests supported by appropriations are not duplicated, are effective,

and are consistent with President Trump’s foreign policy.” State Department Memo.

This rationale, however, does not justify the immediate cessation of vital funding

flows to innumerable organizations across the globe and the abrupt suspension of all

manner of critical foreign aid work on which the safety, health, and wellbeing of

communities worldwide depend. The Memo offers no reason why review of spending

cannot be conducted absent a suspension of funding and aid work, why any such

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suspension should apply universally to virtually all grantees, and why it serves any

conceivable state interest to compel such a suspension immediately, in a highly

disruptive manner, without giving grantees or the communities that depend on their

work any wind-down period in which to plan and adjust. As with the Executive Order

itself, the most plausible inference is that disruption is the purpose. And as with the

Executive Order, effectuating that purpose thwarts Congress’s constitutional

prerogatives.

      Days after the State Department Memo issued, the Department claimed that

“[i]t is impossible to evaluate programs” absent a funding freeze and operational

pause because there is “little to no incentive to share programmatic-level details so

long as the dollars continue to flow.” U.S. Dep’t of State, Prioritizing America’s

National Interests, supra at p. 12. This rationale, however, is “nowhere to be found in

the [State Department] Memorandum” and so “can be viewed only as [an]

impermissible post hoc rationalization[]” that is “not properly” considered on judicial

review. DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 22 (2020). Even on its own

terms, moreover, the justification is unsubstantiated ipse dixit. Defendants offered

no explanation of what “programmatic-level details” they lack, what efforts

Defendants have made to obtain them, and what evidence supports the assumption

that they would not be disclosed absent an immediate, across-the-board termination

of congressionally authorized activities that the executive branch has long previously

left unmolested. The absence of any “reasoned analysis” of the reasons for “changing

… course” rendered Defendants’ actions arbitrary and capricious. Motor Vehicle Mfrs.



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Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42 (1983); see

Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016) (“[W]here [an] agency

has failed to provide even [a] minimal level of analysis, its action is arbitrary and

capricious and so cannot carry the force of law.”).

      What is more, the State Department Memo is unlawful because it contravenes

several federal statutes. For one thing, the Memo is inconsistent with the FCAA,

which directs that federal funding “shall” be made available for projects of the sort

that Defendants have deliberately halted. See supra at p. 11. Defendants’ suspension

of funding for foreign assistance programs also violates the Congressional Budget and

Impoundment Control Act of 1974 (ICA), which provides that congressionally

appropriated funds “shall be made available for obligation” unless the President

sends a “special message” to Congress justifying a proposed funding rescission and

Congress then passes a recission bill. 2 U.S.C. § 683. Because none of the ICA’s

statutory preconditions have been satisfied, Defendants lack authority to withhold

appropriated funds. Finally, under the Antideficiency Act, the executive branch may

reserve appropriated funds “only … to provide for contingencies; … to achieve savings

made possible by or through changes in requirements or greater efficiency of

operations; or … as specifically provided by law.” 31 U.S.C. § 1512(c)(1). Defendants

have not identified any contingencies or sources of law that justify holding

appropriated foreign aid funds in reserve and, as just explained, Defendants’ claim

that a funding freeze will support efficiency gains is unsupported by any evidence or

reasoned analysis.



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       The State Department Memo is thus triply unlawful: It oversteps

constitutional limits on executive power. It is the product of arbitrary and capricious

decision-making. And it flouts statutory requirements. Under the APA, it must be

“h[e]ld unlawful and set aside,” 5 U.S.C. § 706(2), and Defendants must be

“compel[led]” to resume the funding that has been “unlawfully withheld,” id. § 706(1).

       C. The stop-work orders are unlawful.

       The stop-work orders that have been issued to Plaintiffs must be held unlawful

and set aside for the same reason. Those orders purport to effectuate the unlawful

State Department Memo—which in turn purports to effectuate the unlawful

Executive Order—and so lack any foundation in law. None of the orders that

Plaintiffs received offered any project-specific reason for requiring them to suspend

their operations, and Defendants openly acknowledged that the suspension of JDN’s

funding was “not due to any actions” of JDN but was instead meant to “give the new

administration time to review the use of Foreign Assistance Funds” pursuant to the

Executive Order and State Department Memo. Sullivan Decl. Exh. A. Because the

only basis for the stop-work orders is a series of unlawful executive actions, those

orders are likewise unlawful.

II.    Plaintiffs will suffer irreparable injury absent prompt relief.

       Plaintiffs are suffering, and will continue to suffer, irreparable injury from

Defendants’ ongoing, unlawful withholding of federal grant money, and from the stop-

work orders that prevent them from pursuing their missions. “An irreparable harm

is an imminent injury that is both great and certain to occur, and for which legal

remedies are inadequate.” Beattie v. Barnhart, 663 F. Supp. 2d 5, 9 (D.D.C. 2009).
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Plaintiffs’ injuries are not only imminent and certain—they are already occurring.

Every additional moment that Plaintiffs are deprived of the federal grant money that

they have been guaranteed, the more dramatically they will be forced to scale back

operations, and the more severely compromised the populations they serve will be.

      For AVAC, federal grant funding makes up 40 percent of its total operating

budget. Warren Decl. ¶ 10. As a result of Defendants’ actions, AVAC has already been

forced to stop all CASPR work and lay off seven staff members. Id. ¶¶ 11–12. These

cutbacks have critically hampered AVAC’s ability to pursue HIV prevention research

and development and clinical trials, and they have slowed the rollout of life-saving

medicines that dramatically reduce the incidence and spread of HIV within high-risk

communities. Id. ¶¶ 4–8, 11. Absent an injunction, the harms to AVAC and its

vulnerable constituencies will grow only more severe. AVAC will have to further

reduce its already diminished staff by an additional 10 people, further compromising

AVAC’s ability to accelerate the public health measures needed to protect the lives

and health of individuals who face the imminent risk of HIV infection. Id. ¶ 12.

      For JDN, meanwhile, Defendants’ actions have deprived it of 38 percent of its

budget and have already forced it to terminate longstanding programs in the Pacific,

Latin America, Europe, and Asia and lay off associated staff. Sullivan Decl. ¶¶ 6, 11.

Closure of these programs has created gaps in JDN’s global network, diminishing its

ability to support cross-border investigations and anti-corruption reporting. Id. ¶ 11.

More broadly, Defendants’ funding freeze and stop-work orders have required JDN

to cut its staff by nearly a quarter, reduce programming and necessary travel, refrain



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from purchasing new equipment, and slash pay and hours for remaining staff. Id.

¶¶ 8, 10, 12. Absent an injunction, JDN will need to make further cuts, curtailing its

award-winning investigative work and its ability to maintain its fight against

corruption and other official malfeasance. Id. ¶¶ 5, 8–10.

      These existing and worsening injuries to Plaintiffs and the communities that

depend on their work cannot be remedied by monetary relief after the fact. As

evidenced by the severe impact that Defendants’ funding freeze and stop-work orders

have had on Plaintiffs’ operations within just three weeks, the additional injuries that

Plaintiffs would sustain absent an injunction would likely “threaten[] the very

existence” of their operations. Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir.

1985) (per curiam). Moreover, “‘where economic loss will be unrecoverable, such as

in a case against a Government defendant where sovereign immunity will bar

recovery, economic loss can be irreparable’ even if it would not wipe the [plaintiff]

out.” Whitman-Walker Clinic, Inc. v. HHS, 485 F. Supp. 3d 1, 58 (D.D.C. 2020)

(quoting Everglades Harvesting & Hauling, Inc. v. Scalia, 427 F. Supp. 3d 101, 115

(D.D.C. 2019)); see E. Bay Sanctuary Covenant v. Garland, 994 F.3d 962, 984 (9th

Cir. 2021) (“In the APA context, economic harms may be irreparable because

plaintiffs are otherwise unable to recover monetary damages.”).

      Even apart from the tangible threat to Plaintiffs’ viability, a temporary

restraining order is the only means of ensuring that they can fully carry on with their

missions during the pendency of this case. Where government action creates

“obstacles [that] unquestionably make it more difficult for [a plaintiff] to accomplish



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[its] primary mission,” those obstacles can constitute “irreparable harm.” League of

Women Voters of the U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016); see Whitman-

Walker, 485 F. Supp. 3d at 57–58 (citing cases and finding irreparable harm based on

“the significant financial and operational harms” the plaintiffs would suffer “and the

consequent, well-established threat to their ability to deliver timely and effective

[services]” to the constituencies they served). As explained above, see supra at pp. 12–

13, disrupting the critical services that Plaintiffs and other organizations like them

supply to the global community is not only an irreversible, massive-scale harm that

will predictably result from Defendants’ actions: It is the purpose of those actions in

the first place. This Court should reject Defendants’ efforts to unlawfully inflict this

grave and significant harm and should enter relief without delay.

III.    The balance of equities and public interest favor Plaintiffs.

        As against the certain and irreparable injury that Plaintiffs and innumerable

other recipients of foreign assistance grants are presently experiencing as a result of

Defendants’ unlawful suspension of their funding and activities, Defendants would

suffer no cognizable harm if enjoined from continuing this suspension. After all, “[i]t

is well established that the Government ‘cannot suffer harm from an injunction that

merely ends an unlawful practice.’” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C.

2020) (quoting Open Cmties. Alliance v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C.

2017)). Moreover, the congressionally authorized funding that Defendants abruptly

and unlawfully suspended was available to Plaintiffs and other organizations as

recently as a month ago, with no demonstrated ill effect on government operations.



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Defendants have not explained why an immediate blanket suspension of vital federal

support for foreign assistance is necessary to facilitate their stated goals of reviewing

expenditures to ensure efficiency and consistency with U.S. policy. The balance of

equities thus tips decisively in favor of granting injunctive relief.

      Meanwhile, such relief would serve the public interest. “There is generally no

public interest in the perpetuation of unlawful agency action.” Open Cmties. Alliance,

286 F. Supp. 3d at 179 (quoting League of Women Voters, 838 F.3d at 12). “To the

contrary, there is a substantial public interest in having governmental agencies abide

by the federal laws.” Id. (quoting League of Women Voters, 838 F.3d at 12). Restoring

the flows of federal assistance that Congress has authorized on behalf of the

American people would respect the constitutional design and guard against the

unlawful agglomeration of power in the executive branch.

      Beyond the public’s interest in lawful governance, there is a further pressing

public interest in affording immediate relief. Choking funding to scores of life-saving

humanitarian operations has had predictable, tragic, and senseless consequences. As

a half-billion dollars’ worth of food grown by American farmers rots in ports and

warehouses, USAID, Off. of Inspector Gen.,              Oversight of USAID-Funded

Humanitarian Assistance Programming Impacted by Staffing Reductions and Pause

on Foreign Assistance at 3 (Feb. 10, 2025), https://tinyurl.com/3dmnuxmx, children

around the world have been “left without food and battling malnutrition,” Mark

Townsend et al., Deaths Predicted Amid the Chaos of Elon Musk’s Shutdown of

USAid, The Guardian (Feb. 4, 2025), https://tinyurl.com/s29vk8vn. Meanwhile, over



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ten thousand Americans have reportedly lost their jobs as a result of Defendants’

actions. Thalia Beaty, Volunteers Are Now Tracking What’s Already Been Lost in the

USAID Freeze, Associated Press (Feb. 10, 2025), https://tinyurl.com/68bs5xun.

Absent an injunction, the American and global public will suffer further grave harms.

IV.    This Court should issue prompt relief enjoining enforcement of the
       Executive Order and State Department Memo against all recipients of
       foreign assistance.

       Plaintiffs seek barring enforcement of the unlawful stop-work orders issued to

them and requiring Defendants to resume disbursements of the federal grant money

to which they are entitled. The relief should go further, however, because the actions

that Defendants are taking against Plaintiffs derive from the State Department

Memo, which in turn derives from the Executive Order. As explained above, this

series of interrelated executive actions is unlawful from start to finish, and this Court

should therefore enter a temporary restraining order barring Defendants from

enforcing any link in this chain of illegality.

       The remedy for an agency action that is arbitrary, capricious, or contrary to

law is to have that action “set aside” pursuant to the APA. 5 U.S.C. § 706(2).

Similarly, an unlawful executive order is “ineffective” and without legal force.

Minnesota v. Mille Lacs Band of Chippewa Inds., 526 U.S. 172, 193 (1999); see

Youngstown, 343 U.S. at 583–84 (affirming an injunction that restrained the

executive from “acting under the purported authority” of an “invalid” executive

order). Courts in this Circuit have accordingly recognized that when a “reviewing

court determines that [executive actions] are unlawful, the ordinary result is that the



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[actions] are vacated—not that their application to the individual petitioners is

proscribed”—because the executive action itself is treated as a nullity. District of

Columbia v. U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 47 (D.D.C. 2020) (quoting Nat’l

Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998)).

This reasoning applies at this stage, just as it does upon entry of final judgment. Id.

at 49 (collecting cases at the preliminary injunction stage). Enjoining enforcement of

the Executive Order and State Department Memo will ensure that the actions

challenged here, which are “likely to be proven unlawful,” do “not become effective …

while [their] legality is finally adjudicated,” thus “ensur[ing] that complete relief

remains available to the plaintiffs after … final adjudication.” Id.; see, e.g., Doe 2 v.

Mattis, 344 F. Supp. 3d 16, 23 (D.D.C. 2018) (stating at the preliminary injunction

stage that “Plaintiffs were injured by a rule of broad applicability, so the Court acted

properly in granting systemwide relief, even if that relief has the consequence of

protecting the rights of other … individuals not before the Court”).

      This Court should apply that default rule here. In abruptly suspending all

federal foreign assistance funding across the board, Defendants effected a sweeping,

programmatic maneuver that will have—and indeed has already had—immediate

and severely destabilizing consequences for countless organizations across the world.

Under these circumstances, if this Court concludes—as it should—that Defendants’

actions were likely unlawful, the appropriate course is to restore order by enjoining

the unlawful actions that have injured (and continue to injure) Plaintiffs along with

other, similarly situated organizations. See District of Columbia, 444 F. Supp. 3d at



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50–51 (holding that a nationwide injunction was “necessary” where implementation

of an executive action that was likely unlawful “would have ‘nationwide impact’ and

would cause injuries of ‘sufficient similarity to the plaintiff[s’]’ to other … individuals

throughout the country” (alteration in original; quoting California v. Azar, 911 F.3d

558, 584 (9th Cir. 2018))).

       By contrast, relief applicable only to Plaintiffs would court judicial inefficiency,

requiring a host of follow-on suits—many of them likely in an emergency posture—to

challenge, again and again, the same executive actions whose likely unlawfulness has

already been established. This approach would also allow Defendants to enforce

unlawful orders against innumerable aid organizations throughout the world and

thereby to cause widespread and potentially existential irreparable injury to those

organizations and their beneficiaries, without legal authority to do so. Accordingly,

because the Executive Order and the State Department Memo are likely unlawful,

this Court should enjoin Defendants from enforcing those orders pending further

proceedings in this case.

                                    CONCLUSION

       For the foregoing reasons, Plaintiffs request that this Court enter a temporary

restraining order enjoining Defendants from enforcing the Executive Order, the State

Department Memo, and the stop-work orders issued to Plaintiffs, and requiring

Defendants to reinstate congressionally authorized foreign assistance grants.

Plaintiffs further request that this Court issue a schedule for expedited briefing on a

preliminary injunction and summary judgment.



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                               Respectfully submitted,

                               /s/ Nicolas A. Sansone
                               Lauren E. Bateman (D.C. Bar No. 1047285)
                               Allison M. Zieve (D.C. Bar No. 424786)
                               Nicolas A. Sansone (D.C. Bar No. 1686810)
                               Public Citizen Litigation Group
                               1600 20th Street NW
                               Washington, DC 20009
                               (202) 588-1000

                               Counsel for Plaintiffs




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